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  10                           UNITED STATES DISTRICT COURT
  11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12

  13 JACK SCHROEDER, an individual;          Case No. 2:20-cv-05127-FLA (PVC)
       and BRITNI SUMIDA, an individual;
  14                                         Hon. Fernando L. Aenlle-Rocha
                     Plaintiffs,
  15
             v.                              NOTICE OF SETTLEMENT
  16
       VOLVO GROUP NORTH AMERICA,
  17 LLC, a Delaware limited liability
       company; and VOLVO CAR USA
  18 LLC, a Delaware limited liability
       company,
  19
                     Defendants.
  20
  21 VOLVO CAR USA LLC, a Delaware
       limited liability company
  22
                     Counter-Complainant,
  23
             v.
  24
       JACK SCHROEDER, an individual;
  25 and BRITNI SUMIDA, an individual,

  26                 Counter-Defendants.
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                                             1                  NOTICE OF SETTLEMENT
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   1        PLEASE TAKE NOTICE that the parties in the above-captioned action have
   2 reached a settlement of this matter in full. A formal settlement agreement is being

   3 circulated between the parties for review and approval. The parties expect to shortly

   4 file a stipulated dismissal of the entire action with each party bearing their own

   5 attorneys’ fees and costs.

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   7 Respectfully submitted,

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       DATED: December 23, 2021              ERIKSON LAW GROUP

  10                                   By:         /s/
  11                                         David A. Erikson
                                             Attorney for Plaintiffs
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                                                 2                     NOTICE OF SETTLEMENT
